               Case 4:22-cv-01587-JSW Document 29 Filed 09/21/22 Page 1 of 2




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 8
     Attorneys for Defendants
 9   CITY AND COUNTY OF SAN FRANCISCO;
     LONDON BREED, Mayor of San Francisco in her official capacity; and
10   CAROL ISEN, Human Resources Director, City and County
     of San Francisco, in her official capacity
11

12
                                        UNITED STATES DISTRICT COURT
13
                                     NORTHERN DISTRICT OF CALIFORNIA
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15    SELINA KEENE, MELODY FOUNTILA,                 Case No. 22-cv-01587-JSW
      MARK MCCLURE,
16                                                   DEFENDANTS’ OPPOSITION TO EX PARTE
              Plaintiffs,                            APPLICATION AND TO SHORTEN TIME OF
17                                                   NOTICE FOR MOTION TO ENTER ORDER
              vs.                                    ON PLAINTIFFS’ MOTION FOR
18                                                   PRELIMINARY INJUNCTION
      CITY and COUNTY OF SAN FRANCISCO;
19    LONDON BREED, Mayor of San Francisco in        Hearing Date:        September 23, 2022
      her official capacity; CAROL ISEN, Human       Time:                9:00 a.m.
20    Resources Director, City and County of San     Judge:               Hon. Jeffrey S. White
      Francisco, in her official capacity; DOES 1-   Location:            Oakland Courthouse,
21    100,                                                                Courtroom 5, 2nd Floor

22            Defendants.                            Date Action Filed:   March 14, 2022
                                                     Trial Date:          None set
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      Opposition – EPA re: OST for Motion for PI                              n:\govlit\li2022\220836\01629504.docx
      CASE NO. 22-cv-01587-JSW
               Case 4:22-cv-01587-JSW Document 29 Filed 09/21/22 Page 2 of 2




 1           Defendant City and County of San Francisco (“City”) objects to Plaintiffs’ Ex Parte

 2   Application to Shorten Time of Notice from Motion to Enter Order on Plaintiff’s Motion for

 3   Preliminary Injunction (the “Ex Parte Motion”), filed with the Court on September 13, 2022 (Dkt. 28).

 4   There is no emergency to warrant shortening of time, and none has been demonstrated via the Ex Parte

 5   Motion. Plaintiffs’ Motion to Enter Order on Plaintiff’s Motion for Preliminary Injunction (“Motion”)

 6   is also improper because the management of the Court’s docket is entirely within the Court’s sole

 7   discretion.

 8           Counsel for the City are also unavailable on September 23, 2022 for the noticed hearing on the

 9   Ex Parte Motion. Counsel for Plaintiffs’ did not consult with the City’s attorneys before unilaterally

10   selecting a date on which neither of the attorneys for the City are available. (See Accompanying Decl.

11   of Kate Kimberlin). The City requested Plaintiffs re-notice their motion for a mutually agreeable date,

12   but Plaintiffs did not do so. The City is therefore unavailable for and does not plan to appear at the

13   noticed hearing on the Ex Parte Motion.

14

15   Dated: September 21, 2022
16                                                    DAVID CHIU
                                                      City Attorney
17                                                    WAYNE K. SNODGRASS
18                                                    JAMES M. EMERY
                                                      KATE G. KIMBERLIN
19                                                    Deputy City Attorneys

20
                                                   By: /s/ Kate G. Kimberlin
21                                                    JAMES M. EMERY
                                                      KATE G. KIMBERLIN
22
                                                      Attorneys for Defendants
23                                                    CITY AND COUNTY OF SAN FRANCISCO,
                                                      MAYOR LONDON BREED and CAROL ISEN
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      Opposition – EPA re: OST for Motion for PI             2                      n:\govlit\li2022\220836\01629504.docx
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